Case 2:05-cV-02104-.]P|\/|-de Document 9 Filed 06/30/05 Page 1 of 2 Page|D 23

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UNITED sTATEs DISTRICT coURT “;H 903
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WESTERN DIVISION 'H{)W~SM !LGOUID
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WILLIAM M. LINEBERR'Y, J'UDGMENT IN A CIV'IL CASE
Petitioner,
'V'¢
WA.RDEN, FMC-BUTNER, CASE NO: 05-2104 Ml/V
Respondent.
J'UDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, AD\J'UDGED, AND DECREED that, in
accordance With the Order Vacating May 31, 2005, Order and
Judgment, Order Denying Petition Pursuant to 28 U.S.C. § 2241,
Order Certifying Appeal Not Taken in Good Faith, and Notice of
Appellate Filing Fee, entered June §QQ, 2005, this case is
DISMISSED.

APPROVED :

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JON P . MCCALLA
UN TED STATES DISTRICT JUDGE

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DATE Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02104 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

William Mark Lineberry
FMC BUTNER
16394-076

P.O. Box 1600

Butner, NC 27509

Honorable J on McCalla
US DISTRICT COURT

